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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
       CENTER FOR BIOLOGICAL DIVERSITY,         Case No.: 2:24-cv-05459-MWC-MAA
11     et al.,
12                                              CIVIL TRIAL ORDER
                                Plaintiff(s),
13                 v.
14
15     DEBRA HAALAND, et al.,
16                              Defendant(s).
17
18
19
20
21
22
23
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26
27
28     cc: ADR Dept.


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 1         I.      Schedule
 2              A. Scheduling Order
 3           This Order, along with the Standing Order issued on November 22, 2024 (Dkt. 34), supersede
 4     the previous case management order (Dkt. 15) and summary judgment order (Dkt. 16), which were
 5     previously entered on October 4, 2024. The Scheduling Order governing this action is set forth in
 6     the Schedule of Pretrial and Trial Dates chart below. The box in the upper right-hand corner of the
 7     chart states whether the trial will be by jury or court. If the parties 1 seek to set additional dates, they
 8     may file a Stipulation and Proposed Order. This may be appropriate in class actions, patent cases, or
 9     cases for benefits under the Employee Retirement Income Security Act of 1974 (“ERISA”).
10           The parties are advised that the discovery cut-off date is the last day by which all depositions
11     must be completed, responses to previously served written discovery must be provided, and
12     motions concerning discovery disputes must be heard, not filed. In other words, any motion
13     challenging the adequacy of discovery responses must be filed timely, served, and calendared
14     sufficiently in advance of the relevant discovery cut-off date to permit the responses to be obtained
15     before that date, if the motion is granted.
16           The parties should refer to the Court’s Standing Order for requirements regarding specific
17     motions, discovery, certain types of filings, courtesy copies, emailing signature items to Chambers,
18     alternative dispute resolution, and other matters pertaining to all cases. A copy of the Court’s
19     Standing Order is available on Judge Court’s webpage at www.cacd.uscourts.gov/honorable-
20     michelle-williams-court. Both the Court and all counsel bear responsibility for the progress of
21     litigation in this Court.
22              “Counsel,” as used in this Order, includes parties appearing pro se. 2
23           All emailed submissions to Chambers referred to in this Order must be in Word format
24     and emailed to MWC_Chambers@cacd.uscourts.gov.
25
26     1
         The term “parties” includes unrepresented parties—that is parties without attorneys, also referred to as “pro
27     se litigants”—as well as counsel for represented parties.
       2
         This Court does not exempt pro se litigants from compliance with the Federal Rules of Civil Procedure, the
28     applicable Local Civil Rules of the Central District of California (“Local Civil Rules”), and this Court’s
       standing orders and online procedures and schedules. See Local Rules 1-3 and 83-2.2.3.


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                                                             DISTRICT JUDGE MICHELLE W. COURT
 1                                                         SCHEDULE OF PRETRIAL AND TRIAL DATES


 2                                        Trial and Final Pretrial Conference Dates                                                 Court Order

 3
           Trial                                                                                                         ☐ Jury Trial or ☒ Bench Trial
 4
           Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions in Limine                                       October 3, 2025 at 1:30 p.m.
 5
                                                             Event
                                                                                                                                    Court Order
 6                                       Note: Hearings shall be on Fridays at 1:30 p.m. 1

           Last Date to File Motion to Amend Pleadings or Add Parties                                                 January 4, 2025
 7
           Fact Discovery Cut-Off 2                                                                                   April 4, 2025

 8         Expert Disclosure (Initial)                                                                                April 18, 2025

 9         Expert Disclosure (Rebuttal)                                                                               May 19, 2025

           Expert Discovery Cut-Off                                                                                   June 18, 2025
10
           Last Date to File Motions
11          • Parties shall take note of the Court’s briefing schedule as set forth in the Civil Standing Order,
               found on Judge Court’s website
                                                                                                                      July 18, 2025


12                                                                                                                    ☐ 1. Magistrate Judge
                                                                                                                      ☐ 2. Court Mediation Panel
13         Deadline to Complete Settlement Conference [L.R. 16-15] 3                                                  ☐ 3. Private Mediation
                                                                                                                      Settlement Officer Timothy V.P.
                                                                                                                      Gallagher no later than April 4, 2025
14
           Trial Filings (first round) 4
15          • Motions in Limine 5
            • Memoranda of Contentions of Fact and Law [L.R. 16-4]
            • Witness Lists [L.R. 16-5]                                                                               September 12, 2025
16          • Joint Exhibit List [L.R. 16-6.1]
            • Joint Status Report Regarding Settlement
            • Declarations containing Direct Testimony, if ordered (bench trial only)
17
           Trial Filings (second round)
18          • Oppositions to Motions in Limine
            • Joint Proposed Final Pretrial Conference Order [L.R. 16-7]
            • Joint Agreed Upon Proposed Jury Instructions (jury trial only)
19          • Disputed Proposed Jury Instructions (jury trial only)
            • Joint Proposed Verdict Forms (jury trial only)
            • Joint Proposed Statement of the Case (jury trial only)                                                  September 19, 2025
20          • Proposed Voir Dire Questions, if any (jury trial only)
            • Evidentiary Objections to Declarations of Direct Testimony
21             (bench trial only)
            • Proposed Findings of Fact and Conclusions of Law [L.R.52]
               (bench trial only)
22
23
24
25
26     1
         By default, all hearings shall proceed in-person, unless a request is made by the parties and granted by the Court. Requests to appear via Zoom must
       be e-filed seven (7) days before the hearing and must indicate that counsel has met and conferred per Local Rule 7-3.
       2
         Any motions to compel must be filed and heard before the discovery cutoff.
27     3
         As stated in the Court’s Order Setting Scheduling Conference, no case will proceed to trial unless all parties, including an officer with full settlement
       authority for corporate parties, have appeared personally at an ADR proceeding.
28     4
       5
         All trial filings must be filed as well as emailed in Word version to the chambers email box at MWC_Chambers@cacd.uscourts.gov.
         Each party may file no more than five (5) motions in limine without seeking leave from the Court.




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 1          B. Final Pretrial Conference/Proposed Final Pretrial Conference Order
 2         The Court has set a Final Pretrial Conference (“FPTC”) pursuant to Federal Rule of Civil
 3     Procedure 16 and Local Rule 16-8. The Court requires strict compliance with Federal Rules of Civil
 4     Procedure 16 and 26, and Local Rule 16. Each party appearing in this action must be represented at
 5     the FPTC by lead trial counsel. 6 The parties must be prepared to discuss streamlining the trial,
 6     including presentation of testimony by deposition excerpts or summaries, time limits, stipulations to
 7     undisputed facts, and qualification of experts by admitted resumes.
 8         A proposed Final Pretrial Conference Order (“Proposed FPTCO”) shall be filed and emailed to
 9     Chambers at least fourteen (14) days before the FPTC. A template for the Proposed FPTCO is
10     available on Judge Court’s webpage. The parties must use this template.
11         In specifying the surviving pleadings under section 1, the parties are to state which claims or
12     counterclaims have been dismissed or abandoned (e.g., “Plaintiff’s second cause of action for
13     breach of fiduciary duty has been dismissed.”). Additionally, in multiple-party cases where not all
14     claims or counterclaims will be prosecuted against all remaining parties on the opposing side, the
15     parties are to specify to which party or parties each claim or counterclaim is directed.
16         The parties must attempt to agree on and set forth as many uncontested facts as possible. The
17     Court will read the uncontested facts to the jury at the start of trial. A carefully drafted and
18     comprehensively stated stipulation of facts will shorten the trial and generally increase jury
19     understanding of the case.
20         In drafting the factual issues in dispute, the parties must state issues in ultimate fact form, not in
21     the form of evidentiary fact issues. The issues of fact should track the elements of a claim or
22     defense on which the jury will be required to make findings.
23
24
25     6
        The Court has a strong commitment to fostering the development of new and diverse lawyers in the legal
26     community. Consequently, the Court strongly encourages litigants to provide opportunities for less
       experienced lawyers or lawyers whose identities and/or backgrounds further the diversity of the legal
27     profession to participate in trial and in the FPTC, particularly where they contributed significantly to the
       underlying issue or prepared the witness. Of course, the ultimate decision of who speaks on behalf of the
28     client is for the client and not the Court.



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 1         Issues of law should state legal issues on which the Court will be required to rule during the trial
 2     and should not list ultimate fact issues to be submitted to the trier of fact.
 3       II.   Trial Preparation
 4         The parties must comply with Local Rule 16. Pursuant to Local Rule 16-2, lead trial counsel for
 5     each party are required to meet and confer in person forty (40) days in advance to prepare for the
 6     FPTC. The parties must comply with Local Rule 16-2, except where the requirements set forth in
 7     this Order differ from or supplement those contained in Local Rule 16. The Court may take the
 8     FPTC and trial off calendar or impose other sanctions for failure to comply with these requirements.
 9         A. Schedule for Filing Pretrial Documents
10         The schedule for filing pretrial documents is as follows:
11             •   At least twenty-eight (28) days before the FPTC:
12                     o Motions in Limine
13                     o Memoranda of Contentions of Fact and Law
14                     o Witness list
15                     o Joint Exhibit list
16                     o Joint Status Report Regarding Settlement
17                     o Declarations containing Direct Testimony (bench trial only)
18             •   At least fourteen (14) days before the FPTC:
19                     o Oppositions to Motions in Limine
20                     o Joint Proposed FPTCO
21                     o Joint Agreed Upon Proposed Jury Instructions (jury trial only)
22                     o Disputed Proposed Jury Instructions (jury trial only)
23                     o Joint Proposed Verdict Forms (jury trial only)
24                     o Joint Proposed Statement of the Case (jury trial only)
25                     o Proposed Voir Dire Questions, if any (jury trial only)
26                     o Evidentiary Objections to Declarations of Direct Testimony (bench trial only)
27                     o Proposed Findings of Fact and Conclusions of Law (bench trial only)
28


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 1        All pretrial documents listed above, including any amended documents, shall be filed and
 2     emailed in Word version to MWC_Chambers@cacd.uscourts.gov the day they are due.
 3         B. Requirements for Pretrial Documents
 4                            1. Motions in Limine
 5        Motions in limine will be heard and ruled on at the FPTC. The Court may rule orally instead of
 6     in writing. All motions in limine shall be filed and emailed to Chambers at least twenty-eight (28)
 7     days before the FPTC. Oppositions shall be filed and emailed to Chambers at least fourteen (14)
 8     days before the FPTC. There shall be no replies. Motions in limine and oppositions must not exceed
 9     ten (10) pages in length.
10        Before filing a motion in limine, the parties must meet and confer to determine whether the
11     opposing party intends to introduce the disputed evidence and attempt to reach an agreement that
12     would obviate the need for the motion. Motions in limine should address specific issues (e.g., not
13     “to exclude all hearsay”). Motions in limine should not be disguised motions for summary
14     adjudication of issues. No party may file more than five (5) motions in limine without seeking
15     leave from the Court to do so.
16                            2. Witness Lists
17        Witness lists shall be filed and emailed to Chambers twenty-eight (28) days before the FPTC.
18     They must be in the format specified in Local Rule 16-5 and must include for each witness (1) a
19     brief description of the testimony; (2) the reasons the testimony is unique and not redundant; and
20     (3) a time estimate in hours for direct and cross-examination.
21        Any Amended Witness List must be filed and emailed to Chambers by 12:00 p.m. (noon) on the
22     Friday before trial.
23        The parties must use the following format.
24       Witness’s Name,*               Summary of          Time for       Time for
                                                                                              Dates of
          Phone Number,              Testimony / Why       Direct Exam    Cross Exam
                                                                                             Testimony
25            Address                Testimony Unique        (Hours)        (Hours)
        Jane Doe                   Will testify what she
26      1111 Main St., Los         saw at accident.
        Angeles, CA 99999          Unique in that she is                                   [To be filled in
27                                                             2 hours          1 hour
        213-999-9999               the only eyewitness                                      during trial]
28


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 1             * Indicates that the witness will be called only if the need arises.
 2                           3. Joint Exhibit List
 3          The Joint Exhibit List shall be filed and emailed to Chambers twenty-eight (28) days before the
 4     FPTC. It must be in the format specified in Local Rule 16-6 and shall include additional columns
 5     stating any objections to authenticity and/or admissibility and the reasons for the objections, as well
 6     as responses to the objections. Any Amended Joint Exhibit List shall be filed and emailed to
 7     Chambers by 12:00 p.m. (noon) on the Friday before trial.
 8          The Joint Exhibit List must follow the following format.
 9
        Ex.    Description             Witness        Objections to           Response to   Date         Date
10      #                              Establishing   Admissibility and/or    Objection     Identified   Admitted
                                       Foundation     Authenticity (include
11                                                    basis and party
                                                      objecting)
12
        3      1/30/80 letter from
13
               Doe to Roe
14
15
16
17                           4. Jury Instructions (Jury Trials Only)
18          Joint Proposed Jury Instructions shall be filed and emailed to Chambers no later than fourteen
19     (14) days prior to the FPTC. The parties must make every effort to agree upon jury instructions
20     before submitting proposals to the Court. The Court expects the parties to agree on the substantial
21     majority of instructions, particularly when pattern or model jury instructions exist and provide a
22     statement of applicable law. The parties shall meet and confer regarding jury instructions according
23     to the following schedule:
24             •   Thirty-five (35) days before the FPTC: The parties shall exchange proposed general and
25                 special jury instructions.
26             •   Twenty-eight (28) days before the FPTC: The parties shall exchange any objections to
27                 the instructions.
28             •   Twenty-one (21) days before the FPTC: The parties shall meet and confer with the goal


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 1                 of reaching agreement on one set of Joint Proposed Jury Instructions.
 2             •   Fourteen (14) days before FPTC: The parties shall file and email to Chambers: (1) their
 3                 Joint Agreed Upon Proposed Jury Instructions and (2) their Disputed Jury Instructions.
 4         The parties shall file and email to Chambers clean and redline sets of: (1) their Joint Agreed
 5     Upon Proposed Jury Instructions; and (2) their Disputed Jury Instructions. The redline sets shall
 6     include all modifications made by the parties to pattern or model jury instructions, any disputed
 7     language, and the factual or legal basis for each party’s position as to each disputed instruction.
 8     Where appropriate, the disputed instructions shall be organized by subject, so that instructions that
 9     address the same or similar issues are presented sequentially. If there are excessive or frivolous
10     disagreements over jury instructions, the Court will order the parties to meet and confer
11     immediately until they substantially narrow their disagreements.
12                     Sources: When the Manual of Model Jury Instructions for the Ninth Circuit 7
13     provides an applicable jury instruction, the parties should submit the most recent version, modified
14     and supplemented to fit the circumstances of the case. Where California law applies, the parties
15     should use the current edition of the Judicial Council of California Civil Jury Instructions 8
16     (“CACI”). If neither applies, the parties should consult the current edition of O’Malley, et al.,
17     Federal Jury Practice and Instructions. The parties may submit alternatives to these instructions
18     only if there is a reasoned argument that they do not properly state the law or are incomplete. The
19     Court seldom gives instructions derived solely from case law.
20                     Format: Each requested instruction shall: (1) cite the authority or source of the
21     instruction; (2) be set forth in full; (3) be on a separate page; (4) be numbered; (5) cover only one
22     subject or principle of law; and (6) not repeat principles of law contained in any other requested
23
24
25
26
27     7
         The Manual of Model Jury Instructions for the Ninth Circuit may be found on the Ninth Circuit’s website at
28     https://www.ce9.uscourts.gov/jury-instructions/model-civil.
       8
         The CACI may be found on the California Court website at https://www.courts.ca.gov/partners/317.htm.


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 1     instruction. If a standard instruction has blanks or offers options (e.g., for gender 9), the parties must
 2     fill in the blanks or make the appropriate selections in their proposed instructions.
 3                        Index: All proposed jury instructions must have an index that includes the following
 4     for each instruction, as illustrated in the example below:
 5                    •   the number of the instruction;
 6                    •   the title of the instruction;
 7                    •   the source of the instruction and any relevant case citations; and
 8                    •   the page number of the instruction.
 9     Example:
10         Instruction
11         Number                     Title                        Source                    Page Number
12                                    Trademark-Defined
           1                          (15.U.S.C. § 1127)           9th Cir. 8.5.1            1
13             Counsel also shall list the instructions in the order they will be given and indicate whether the
14     instruction shall be read before opening statements, during trial, or before closing arguments.
15             During the trial and before closing argument, the Court will meet with the parties to settle the
16     instructions. At that time, the parties will have an opportunity to make an oral record concerning
17     their objections. Each member of the jury will be given their own copy of the instructions during
18     deliberations.
19                              5. Joint Verdict Forms (Jury Trials Only)
20             The parties shall make every effort to agree on a general or special verdict form before
21     submitting proposals to the Court. The parties shall file and email to Chambers a proposed joint
22     general or special verdict form fourteen (14) days before the FPTC. If the parties are unable to
23     agree on a verdict form, the parties shall file and email to Chambers one document titled
24     “Competing Verdict Forms” which shall include: (1) the parties’ respective proposed verdict form;
25     (2) a redline of any disputed language; and (3) the factual or legal basis for each party’s respective
26
27     9
         Per the Court’s Standing Order, litigants and counsel may indicate their honorifics by filing a letter, adding
28     the information in the name block or signature line of the pleadings, or verbally informing the Court when
       making an appearance.


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 1   position. The Court may opt to use a general verdict form if the parties are unable to agree on a
 2   special verdict form.
 3                           6. Joint Statement of the Case (Jury Trials Only)
 4          The parties shall file and email to Chambers a Joint Statement of the Case fourteen (14)
 5   days before the FPTC for the Court to read to the prospective jurors before commencement of voir
 6   dire. The joint statement should be brief and neutral and must not be more than one page in length.
 7                           7. Proposed Voir Dire Questions (Jury Trials Only)
 8      The Court will conduct the voir dire. Generally, a jury in a civil action will consist of eight (8)
 9   jurors. In most cases, the Court will question all prospective jurors in the jury panel. The Court asks
10   prospective jurors basic biographical questions (jurors’ place of residence, employment, whether
11   familiar with the parties or counsel, etc.) as well as questions going to their ability to be fair and
12   impartial and carry out the duties required and may ask additional case-specific questions. The
13   parties may file and email to Chambers any proposed case-specific voir dire questions for the
14   Court’s consideration no later than fourteen (14) days before the FPTC. If it considers the questions
15   proper, the Court will pose the questions to the prospective jurors.
16      Each side has three (3) peremptory challenges. All challenges for cause and all Batson
17   challenges shall be made at side bar or otherwise outside the prospective jurors’ presence. The
18   Court will not necessarily accept a stipulation to a challenge for cause. After all challenges have
19   been exercised, the remaining jurors in the eight (8) lowest numbered seats will be the jury.
20                           8. Proposed Findings of Fact and Conclusions of Law (Bench Trials
21                              Only)
22      For any trial requiring findings of fact and conclusions of law, each party shall file and email to
23   Chambers its Proposed Findings of Fact and Conclusions of Law in the format specified in Local
24   Rule 52-3 no later than twenty-eight (28) days before the FPTC.
25      Notwithstanding Local Rule 52, for any matter requiring findings of fact and conclusions of
26   law, unless otherwise expressly ordered by the Court, counsel will also be required to file Proposed
27   Findings of Fact and Conclusions of Law after the conclusion of the trial. The proposed Findings of
28   Fact must include citations to admitted evidence. Where witness trial testimony is necessary to


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 1   establish a given fact, the party must obtain a transcript of the proceedings and file relevant excerpts
 2   of those transcripts with the Proposed Findings of Fact and Conclusions of Law. In addition to
 3   filing, counsel must email Microsoft Word versions of their Proposed Findings of Fact and
 4   Conclusions of Law to the chambers email address.
 5                         9. Declarations of Direct Testimony (Bench Trials Only)
 6       When ordered by the Court in a particular case, each party shall file and email to Chambers
 7   declarations containing the direct testimony of each witness whom that party intends to call at trial
 8   at least twenty-eight (28) days before the FPTC. If such declarations are filed, each party shall file
 9   and email to Chambers any evidentiary objections to the declarations submitted by any other party
10   at least fourteen (14) days before the FPTC. Such objections shall be submitted in the following
11   three-column format: (1) the left column should contain a verbatim quote of each statement
12   objected to (including page and line number); (2) the middle column should set forth a concise legal
13   objection (e.g., hearsay, lacks foundation) with a citation to the corresponding Federal Rule of
14   Evidence or, where applicable, a case citation; and (3) the right column should provide space for the
15   Court’s ruling on the objection. The Court anticipates issuing its ruling on the objections during the
16   FPTC.
17                         10.       Case-Specific Glossary
18       The parties must provide a case-specific glossary for the Court Reporter that includes applicable
19   medical, scientific, or technical terms, jargon, the names and spellings of case names likely to be
20   cited, street/city/country names, all parties/agents/departments/entities involved in the case, names
21   of people interviewed/deposed, names of other individuals who might be mentioned, and other
22   case-specific terminology. The case-specific glossary shall be filed and emailed in Word version to
23   Chambers no later than the Friday before trial.
24    III.    Trial Exhibits
25       Trial exhibits that consist of documents and photographs must be submitted to the Court in
26   three-ring binders on the first day of trial promptly at 8:00 a.m. The parties shall submit to the Court
27   four (4) sets of binders: one (1) original set of trial exhibits, and three (3) copies of trial exhibits.
28   The original set of exhibits shall be for use by the jury during its deliberations, one copy will be for


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 1   witnesses, and two copies are for the Court. The parties must prepare additional copies of exhibits
 2   for their own use. The parties must review the exhibit list and exhibit binders with the Courtroom
 3   Deputy Clerk before the admitted exhibits will be given to the jury.
 4       All exhibits placed in three-ring binders must be indexed by exhibit number with tabs or
 5   dividers on the right side. All exhibit tabs are to be stapled to the first page of the exhibit. Exhibits
 6   shall be numbered sequentially 1, 2, 3, etc., not 1.1, 1.2, etc. See Local Rule 16-6. Every page of a
 7   multi-page exhibit must be numbered. Defendant’s exhibit numbers shall not duplicate Plaintiff’s
 8   numbers. The spine of each binder shall indicate the volume number and the range of exhibit
 9   numbers included in the volume.
10           •   The original exhibits shall bear the official exhibit tags (yellow tags for Plaintiff’s
11               exhibits, blue tags for Defendant’s exhibits, and green tags for joint exhibits) affixed to
12               the front upper right-hand corner of the exhibit, with the case number, case name, and
13               exhibit number stated on each tag. Tags may be obtained from the Clerk’s Office, or the
14               parties may print their own exhibit tags using Forms G-14A and G-14B on the “Court
15               Forms” section of the Central District of California’s website.
16           •   For electronic exhibits, the parties should provide a physical caption page with the
17               exhibit tag and attach the physical flash drive or CD containing the electronic exhibits. If
18               there are voluminous electronic exhibits, the parties should raise the issue with the Court
19               at the Final Pretrial Conference.
20           •   The copies of exhibits must bear copies of the official exhibit tags that were placed on
21               the original exhibits and be indexed with tabs or dividers on the right side. For electronic
22               exhibits, the copies should not include any physical flash drives or CDs.
23       In addition to the four (4) sets of binders above, the parties must also submit to the Court a USB
24   flash drive containing electronic versions of all exhibits and any excerpts of deposition transcripts
25   to be used at trial, either as evidence or for impeachment. The USB flash drive must be delivered to
26   the judge’s courtesy box located outside the Clerk’s Office on the 4th floor of the courthouse by
27   12:00 p.m. on the Friday before the start of trial. Plaintiff’s exhibits must be placed in a separate
28   folder from Defendant’s exhibits, and the document file names must include the exhibit number and


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 1   a brief description of the document (e.g., “Ex. 1 – Smith Declaration.pdf” or “Ex. 105 –Letter Dated
 2   1-5-20.pdf”).
 3         The Court provides audio/visual equipment for use during trial. The parties are encouraged to
 4   use it. More information is available at: http://www.cacd.uscourts.gov/clerk-services/courtroom-
 5   technology. The Court does not permit exhibits to be “published” to the jurors before they are
 6   admitted into evidence. Once admitted, exhibits may be displayed electronically using the
 7   equipment and screens in the courtroom.
 8         If electronic equipment must be brought into the courtroom for trial, counsel shall make prior
 9   arrangements with the Court Security. Notice must be given to the Courtroom Deputy Clerk at
10   MWC_Chambers@cacd.uscourts.gov no later than four (4) days before trial.
11         The parties must meet and confer no later than ten (10) days before trial to stipulate as much as
12   possible to foundation, waiver of the best evidence rule, and exhibits that may be received into
13   evidence at the start of the trial. All such exhibits should be noted as admitted on the Court and
14   Courtroom Deputy Clerk’s copy of the exhibit list.
15    IV.      Materials to Present on First Day of Trial
16         The parties must present the following materials to the Courtroom Deputy Clerk on the first day
17   of trial promptly at 8:00 a.m.:
18             1. The four sets of binders described above, with one (1) original set of trial exhibits for the
19                jury, and three (3) copies of trial exhibits for the Court and witnesses.
20             2. One copy of any excerpts of deposition to be used as trial as evidence. This copy is for
21                the Court’s use. The parties must use their own copies during trial.
22        V.   Court Reporter
23         Any party requesting special court reporter services for any hearing, such as “Real Time”
24   transmission or daily transcripts, shall notify Court Reporting Services at least fourteen (14) days
25   before the hearing date. 10
26
27
28    Additional information regarding Court Reporting Services may be found on the Central District of
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     California website at http://www.cacd.uscourts.gov/court-reporting-services.


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 1    VI.      Daily Schedule for Jury Trials
 2      On the first day of trial, the parties must appear at 8:30 a.m. to discuss preliminary matters with
 3   the Court. The hours for the first day of trial will be 9:00 a.m. to 5:00 p.m. with two (2) 15-minute
 4   breaks and one (1) 1-hour lunch break, which is the Court’s normal trial schedule.
 5      The Court will call a jury panel only when it is satisfied the case is ready for trial. Jury selection
 6   usually takes only a few hours. The parties should be prepared to proceed with opening statements
 7   and witness examination immediately after jury selection.
 8      The parties may choose to proceed with the Court’s normal trial schedule or an alternate
 9   schedule for the remaining days of trial. The alternate schedule will be 8:30 a.m. to 2:30 p.m. with
10   two (2) 20-minute breaks. The parties should meet and confer about their preferred schedule and
11   state their preference in their proposed FPTCO.
12      Fridays are usually reserved for the Court’s calendar. As a result, trial will not be held on
13   Fridays unless the jury is deliberating or the Court’s calendar allows trial to proceed. Therefore,
14   trial days are generally Monday through Thursday.
15   VII.      Conduct of Attorneys and Parties
16          A. Meeting and Conferring Throughout Trial
17      The parties must continue to meet and confer on all issues that arise during trial. The Court will
18   not rule on any such issue unless the parties have attempted to resolve it first.
19          B. Opening Statements, Witness Examinations, and Closing Arguments
20          Counsel must use the lectern. Counsel should not consume jury time by writing out words and
21   drawing charts or diagrams. All such aids must be prepared in advance. When appropriate, the Court
22   will establish and enforce time limits for all phases of trial, including opening statements, closing
23   arguments, and the examination of witnesses.
24          C. Objections to Questions
25      Counsel must not make speaking objections before the jury or otherwise make speeches, restate
26   testimony, or attempt to guide a witness.
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 1        When objecting, counsel must rise to state the objection and state only that counsel objects and
 2   the legal grounds for the objection. If counsel wishes to argue an objection further, counsel must
 3   seek permission from the Court to do so.
 4        D. Court’s Rulings on Motions in Limine
 5        The parties must advise their witnesses of the Court’s rulings on the motions in limine, and
 6   instruct them not to make any reference to the evidence excluded by the Court’s orders. All
 7   witnesses shall be instructed that to the extent that a witness must testify regarding excluded
 8   evidence in order to answer a question truthfully, the witness should not answer the question but
 9   request a sidebar by stating “Sidebar needed.” The parties must not make any reference to the
10   Court’s orders on the motions in limine before the jury.
11        E. Closing Arguments and Post-Trial Briefs (Bench Trials Only)
12        For an overview and review of the evidence presented during trial, the Court will rely on the
13   parties’ closing arguments. In delivering closing arguments, the parties shall use their respective
14   proposed findings of fact and conclusions of law as a “checklist” and should identify the evidence
15   that supports their proposed findings. The Court will not accept post-trial briefs unless it finds that
16   circumstances warrant additional briefing and such briefing is specifically authorized.
17        F. General Decorum While in Session
18           1. Counsel must not approach the Courtroom Deputy Clerk, the jury box, or the witness
19               stand without court authorization and must return to the lectern when the purpose for the
20               approach has been accomplished.
21           2. Counsel must rise when addressing the Court, and when the Court or the jury enters or
22               leaves the courtroom, unless directed otherwise. 11
23           3. Counsel must address all remarks to the Court. Counsel must not address the Courtroom
24               Deputy Clerk, the court reporter, persons in the audience, or opposing counsel. Any
25               request to re-read questions or answers shall be addressed to the Court. Counsel must
26               ask the Court’s permission to speak with opposing counsel.
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       In the event that a disability prevents a party from doing so, the party is advised to inform the Court in
     advance.


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 1       4. Counsel must not address or refer to witnesses or parties by first names alone, except for
 2          witnesses who are below age fourteen (14).
 3       5. Counsel must not offer a stipulation unless counsel have conferred with opposing
 4          counsel and have verified that the stipulation will be acceptable.
 5       6. Counsel must not leave counsel table to confer with any person in the back of the
 6          courtroom without the Court’s permission.
 7       7. Counsel must not make facial expressions, nod, shake their heads, comment, or
 8          otherwise exhibit in any way any agreement, disagreement, or other opinion or belief
 9          concerning the testimony of a witness or argument by opposing counsel. Counsel shall
10          instruct their clients and witnesses not to engage in such conduct.
11       8. Counsel must never speak to jurors under any circumstance, and must not speak to co-
12          counsel, opposing counsel, witnesses, or clients if the conversation can be overheard by
13          jurors. Counsel must instruct their clients and witnesses to avoid such conduct.
14       9. Where a party has more than one lawyer, only one attorney may conduct the direct or
15          cross-examination of a particular witness or make objections as to that witness.
16       10. Bottled water is permitted in the courtroom. Food and other beverages are not permitted.
17          Cell phones must be silenced or may be confiscated.
18     G. Punctuality
19       1. The Court expects the parties, counsel, and witnesses to be punctual. Once the parties
20          and their counsel are engaged in trial, the trial must be their priority. The Court will not
21          delay progress of the trial or inconvenience jurors.
22       2. If a witness was on the stand at the time of a recess or adjournment, the party that called
23          the witness shall ensure the witness is back on the stand and ready to proceed as soon as
24          trial resumes.
25       3. The parties must notify the Courtroom Deputy Clerk in advance if any party, counsel, or
26          witness requires a reasonable accommodation based on a disability or other reason.
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 1       4. No presenting party may be without witnesses. If a party’s remaining witnesses are not
 2          immediately available, thereby causing an unreasonable delay, the Court may deem that
 3          party to have rested.
 4       5. The Court generally will accommodate witnesses by permitting them to be called out of
 5          sequence. Counsel should meet and confer in advance and make every effort to resolve
 6          the matter.
 7     H. Exhibits
 8       1. Counsel must keep track of their exhibits and exhibit list, and record when each exhibit
 9          has been admitted into evidence.
10       2. Counsel are responsible for any exhibits they secure from the Courtroom Deputy Clerk
11          and must return them before leaving the courtroom.
12       3. Any exhibit not previously marked must be accompanied by a request that it be marked
13          for identification at the time of its first mention. Counsel must show a new exhibit to
14          opposing counsel before the court session in which it is mentioned.
15       4. Counsel must inform the Courtroom Deputy Clerk of any agreements reached regarding
16          any proposed exhibits, as well as those exhibits that may be received into evidence
17          without a motion to admit.
18       5. When referring to an exhibit, counsel must refer to its exhibit number. Counsel should
19          instruct their witnesses to do the same.
20       6. Counsel should not ask witnesses to draw charts or diagrams or ask the Court’s
21          permission for a witness to do so. All demonstrative aids must be prepared fully in
22          advance of the day’s trial session.
23       7. Counsel are required to seek to admit any items of evidence whose admissibility has not
24          yet been stipulated to while the witness authenticating the exhibit is on the stand, so that
25          any issues or concerns that arise may be addressed immediately.
26     I. Depositions
27       1. In using deposition testimony of an adverse party for impeachment, counsel may adhere
28          to either one of the following procedures:


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 1                  a. If counsel wishes to read the questions and answers as alleged impeachment and
 2                     ask the witness no further questions on that subject, counsel shall first state the
 3                     page and line where the reading begins and the page and line where the reading
 4                     ends and allow time for any objection. Counsel may then read the portions of the
 5                     deposition into the record.
 6                  b. If counsel wishes to ask the witness further questions on the subject matter, the
 7                     deposition shall be placed in front of the witness and the witness told to read the
 8                     relevant pages and lines silently. Then, counsel either may ask the witness
 9                     further questions on the matter and thereafter read the quotations or read the
10                     quotations and thereafter ask further questions. Counsel should have available
11                     for the Court and the witness extra copies of the deposition transcript for this
12                     purpose.
13          2. Where a witness is absent and the witness’s testimony is to be offered by deposition,
14              counsel may: (1) have an individual sit on the witness stand and read the testimony of
15              the witness while the examining lawyer asks the questions; or (2) have counsel read both
16              the questions and the answers.
17       J. Using Numerous Answers to Interrogatories and Requests for Admission
18      Whenever counsel expects to offer a group of answers to interrogatories or requests for
19   admissions extracted from one or more lengthy discovery responses, counsel should prepare a new
20   document listing each question and answer and identifying the document from which it has been
21   extracted. Copies of this new document must be provided to the Court and the opposing party.
22       K. Advance Notice of Unusual or Difficult Issues
23      If any party anticipates that a difficult question of law or evidence will necessitate legal
24   argument requiring research or briefing, that party must give the Court advance notice. The parties
25   must notify the Courtroom Deputy Clerk immediately of any unexpected legal issue that could not
26   have been foreseen and addressed in advance. To the extent such issue needs to be addressed
27   outside the jury’s presence, the relevant party must inform the Courtroom Deputy Clerk before
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 1   jurors are excused for the day to minimize the time jurors are kept waiting. The Court expects all
 2   parties to work diligently to minimize delays and avoid keeping jurors waiting.
 3       L. Continuances of Pretrial and Trial Dates
 4      The Court has a strong interest in keeping scheduled dates certain. Accordingly, pretrial and
 5   trial dates set by the Court are firm, and rarely will be changed. Any request for continuance of
 6   pretrial and/or trial dates must be by motion, stipulation, or application, and must be supported by a
 7   declaration setting forth the reasons for the requested relief. The declaration must contain a highly
 8   detailed factual showing of good cause and due diligence demonstrating the necessity for the
 9   continuance and a description of the parties’ efforts, dating back to the filing of the complaint, of
10   the steps they have taken to advance the litigation. This detailed showing must demonstrate that the
11   work still to be performed reasonably could not have been accomplished within the applicable
12   deadlines. General statements are insufficient to establish good cause. The declaration should also
13   include whether any previous requests for continuances have been made and whether these requests
14   were granted or denied by the Court.
15      Stipulations extending dates set by the Court are not effective unless approved by the Court, and
16   without compelling factual support and a showing of due diligence, stipulations continuing dates set
17   by the Court will be denied.
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20          IT IS SO ORDERED.
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22    Dated: December 4, 2024                      ___________________________________
23                                                  HON. MICHELLE WILLIAMS COURT
24                                                           United States District Judge
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